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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION


                                                    )
  BOWLING GREEN-WARREN COUNTY                       )
  COMMUNITY HOSPITAL                                )
  CORPORATION, et al.,                              )
                                                    )
                                                    )    Civil Action No. __________________
                                                                          1:19-cv-148-GNS
                   Plaintiffs,                      )
                                                    )
             v.                                     )
                                                    )
  PURDUE PHARMA L.P., et al.,

                    Defendants.


                                      NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, 1446, and 1367,

Defendants Walmart Inc. 1 and Wal-Mart Stores East, LP, (“Walmart”) hereby remove the above-

captioned action from the Circuit Court of Warren County, Civil Division 1, Kentucky, case

number 19-CI-01146, to the United States District Court for the Western District of Kentucky.

        As grounds for removal, Walmart states:

        1.        Plaintiffs served Walmart with the Amended Complaint on or about September 17,

2019.

        2.        In accordance with 28 U.S.C. § 1446(b), this notice of removal is timely filed. See

Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354-56 (1999) (30-day removal

period begins to run upon service of summons and complaint).




      Plaintiff named Wal-Mart Inc. as a defendant to this action; as of February 1, 2018,
        1

Wal-Mart Stores Inc. became known as Walmart Inc.
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       3.      Plaintiffs’ claims arise under federal law and effectively allege that Walmart and

certain other Defendants violated and are liable under a federal statute, the Controlled Substances

Act, 21 U.S.C. §§ 801, et seq., (the “CSA”) and its implementing regulations. See Am. Compl.,

¶¶ 63, 162, 574.

       4.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C.

§ 1331 since it presents a federal question. As alleged, this suit falls within the CSA, which

supplies this federal question.

       5.      Venue is proper. Pursuant to 28 U.S.C. § 1441 et seq., this case may be removed

from the Circuit Court of Warren County, Civil Division 1, Kentucky, to the United States District

Court for the Western District of Kentucky, as the action is pending within the district.

                              NATURE OF REMOVED ACTION

       6.      On or about August 21, 2019, Plaintiffs in the above-captioned matter filed Bowling

Green-Warren County Community Hospital Corp., et al. v. Purdue Pharma L.P., et al. in the

Circuit Court of Warren County, Kentucky, case number 19-CI-01146, alleging claims relating to

prescription opioid medications.

       7.      On or about September 17, 2019, Plaintiffs served Walmart with the Amended

Complaint, attached as Exhibit A.

       8.      Walmart has not responded to the Amended Complaint in state court.

       9.      The Amended Complaint asserts claims against three groups of Defendants.

       10.     The first group of Defendants, “Marketing Defendants” consists of Purdue Pharma

L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Richard Sackler; Beverly

Sackler; David Sackler; Ilene Sackler Lefcourt; Jonathan Sackler; Kathe Sackler; Mortimer D.A.

Sackler; Theresa Sackler; John Stewart; Mark Timney; Craig Landau; Russell Gasdia; Tessa F.

Rios; Amy K. Thompson; Amneal Pharmaceuticals, LLC; Amneal Pharmaceuticals, Inc.; Teva

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Pharmaceutical Industries Ltd. (incorrectly named “Teva Pharmaceutical Industries, Ltd.” in the

Complaint) 2; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Watson Laboratories, Inc.; 3

Actavis Pharma, Inc. f/k/a Watson Pharma Inc.; Actavis LLC; Johnson & Johnson; Janssen

Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Noramco, Inc.; Abbott

Laboratories; Abbott Laboratories, Inc.; Assertio Therapeutics f/k/a Depomed, Inc.; Endo Health

Solutions Inc.; Endo Pharmaceuticals, Inc.; Mallinckrodt, LLC; Mallinckrodt plc; SpecGX LLC;

Allergan plc f/k/a Actavis plc; and Watson Pharmaceuticals, Inc. Am. Compl. ¶¶ 89-161.

       11.     The second group of Defendants, “Distributor Defendants,” consists of

AmerisourceBergen Drug Corporation; Anda, Inc.; Cardinal Health, Inc.; H.D. Smith, LLC f/k/a

H.D. Smith Wholesale Drug Co.; Henry Schein, Inc.; Miami-Luken, Inc.; Richie Pharmacal Co.

Id. ¶¶ 162- 179.

       12.     The third group of Defendants, “National Retail Pharmacies,” consists of CVS

Health Corporation; CVS Pharmacy, Inc.; CVS Indiana, L.L.C.; Rite Aid of Maryland, Inc., d/b/a

Rite Aid Mid-Atlantic Customer Support Center, Inc.; Walgreens Boots Alliance, Inc.; Walgreen

Co.; Walgreen Eastern Co., Inc.; and Walmart. Id. ¶¶ 180-192.

       13.     The “Distributor Defendants” and the “National Retail Pharmacies” are collectively

referred to in the Amended Complaint as the “Supply Chain Defendants.” Id. ¶ 193.

       14.     The Amended Complaint asserts seven causes of action against Walmart and the


       2
         Teva Pharmaceutical Industries Ltd. is not listed in the Complaint’s caption but is
referenced in the body of the Complaint. Teva Pharmaceutical Industries Ltd. contests and does
not concede that is a party to this action and consents to removal only out of an abundance of
caution.
       3
          Watson Laboratories, Inc. is not listed in the Complaint’s caption but is referenced in
the body of the Complaint. Watson Laboratories, Inc. contests and does not concede that is a
party to this action and consents to removal only out of an abundance of caution.

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other Supply Chain Defendants: (1) violation of Kentucky’s Consumer Protection Act; (2)

Negligence; (3) Nuisance; (4) Unjust Enrichment; (5) Fraud and Deceit; (6) Civil Conspiracy; and

(7) Fraudulent Concealment. Id. ¶¶ 929-1077.

       15.     The thrust of Plaintiffs’ allegations against Walmart and the other Supply Chain

Defendants is that they breached their duties to “monitor, detect, investigate, report, and refuse to

fill suspicious orders of prescription opiates,” failed to “maintain effective controls against the

diversion of opioids into other than legitimate medical channels” and to “investigate, report, and

take steps to halt orders that they knew or should have known were suspicious.” Id. ¶¶ 63, 574,

960.

       16.     This alleged conduct allegedly caused damage to Plaintiffs in the form of

“increased financial burdens” as a result of unreimbursed costs for “providing healthcare and

medical care . . . prescription drugs used to treat addiction . . . mental-health services, treatment,

counseling, rehabilitation services, and social services . . . [and] treatment of infants born with

opioid-related medical conditions or born dependent on opioids.” Id. ¶ 858.

       17.     Plaintiffs’ claims allege a federal question because they are premised on the breach

of duties whose only possible source is the CSA. Plaintiffs identify no state law—common law or

statute—that gives rise to these purported duties regarding the distribution of opioids that Walmart

and the other Supply Chain Defendants allegedly breached. The Kentucky provisions Plaintiffs

cite do not establish any of the alleged duties relating to diversion of controlled substances and

reporting and shipping of “suspicious” opioid medication orders. In fact, the Amended Complaint

identifies no state statute or regulation that imposes an independent duty to monitor, investigate,

and report suspicious orders of controlled substances or to prevent diversion.

       18.     On December 5, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”)



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formed a multidistrict litigation (“MDL”) and transferred opioid-related actions to the Honorable

Dan A. Polster in the Northern District of Ohio, pursuant to 28 U.S.C. § 1407. See In re Nat’l

Prescription Opiate Litig., 290 F. Supp. 3d 1375 (J.P.M.L. 2017) (forming a multidistrict litigation

and transferring opioid-related actions to the Honorable Dan A. Polster).

        19.     Further underscoring the federal source of the duties Plaintiffs allege are the nearly

2,300 opioid-related actions currently pending in the MDL, including at least one action originally

filed in Kentucky state court 4 and numerous actions originally filed in this district. 5

        20.     Plaintiffs’ allegations are nearly identical to the obligations certain Defendants in



        4
        See Commonwealth of Kentucky v. Cardinal Health 5, LLC et al., No. 3:18-cv-00184
(W.D. Ky.) (originally filed in state court, removed to federal court, and transferred to the MDL
on Aug. 7, 2018).
        5
          See, e.g., Fiscal Court of Cumberland Cty. v. AmerisourceBergen Drug Corp., No.
1:17-cv-00163 (W.D. Ky.) (transferred Dec. 12, 2017); Fiscal Court of Allen Cty. v.
AmerisourceBergen Drug Corp., No. 1:17-cv-00196 (W.D. Ky.) (transferred Jan. 10, 2018);
Green Cty. Fiscal Court v. AmerisourceBergen Drug Corp., No. 1:18-cv-00158 (W.D. Ky.)
(transferred Nov. 27, 2018); Louisville/Jefferson Cty. Metro Gov’t v. AmerisourceBergen Drug
Corp., No. 3:17-cv-00508 (W.D. Ky.) (transferred Dec. 12, 2017); Fiscal Court of Spencer Cty.
v. AmerisourceBergen Drug Corp., No. 3:17-cv-00557 (W.D. Ky.) (transferred Dec. 13, 2017);
Fiscal Court of Oldham Cty. v. AmerisourceBergen Drug Corp., No. 3:17-cv-00590 (W.D. Ky.)
(transferred Dec. 14, 2017); Fiscal Court of Bullitt Cty. v. AmerisourceBergen Drug Corp., No.
3:17-cv-00727 (W.D. Ky.) (transferred Jan. 10, 2018); Baptist Healthcare Sys., Inc. v.
AmerisourceBergen Drug Corp., No. 3:18-cv-00558 (W.D. Ky.) (transferred Sep. 12, 2018);
Breckinridge Cty. Fiscal Court v. AmerisourceBergen Drug Corp., No. 3:18-cv-00714 (W.D.
Ky.) (transferred Nov. 27, 2018); Hardin Cty. Fiscal Court v. AmerisourceBergen Drug Corp.,
No. 3:18-cv-00715 (W.D. Ky.) (transferred Nov. 27, 2018); Meade Cty. Fiscal Court v.
AmerisourceBergen Drug Corp., No. 3:18-cv-00716 (W.D. Ky.) (transferred Nov. 11, 2018);
Fiscal Court of Union Cty. v. AmerisourceBergen Drug Corp., No. 4:17-cv-00120 (W.D. Ky.)
(transferred Nov. 12, 2017); Fiscal Court of Henderson Cty. v. AmerisourceBergen Drug Corp.,
No. 4:17-cv-00130 (W.D. Ky.) (transferred Dec. 14, 2017); Fiscal Court of Hopkins Cty. v.
AmerisourceBergen Drug Corp., No. 4:17-cv-00157 (W.D. Ky.) (transferred Dec. 21, 2017);
City of Henderson Kentucky v. AmerisourceBergen Drug Corp., No. 4:18-cv-00169 (W.D. Ky.)
(transferred Nov. 27, 2018); Fiscal Court of Carlisle Cty. v. AmerisourceBergen Drug Corp.,
No. 5:17-cv-00136 (W.D. Ky.) (transferred Dec. 12, 2017); Fiscal Court of Christian Cty. v.
AmerisourceBergen Drug Corp., No. 5:17-cv-00146 (W.D. Ky.) (transferred Dec. 14, 2017);
Fiscal Court of Marshall Cty. v. AmerisourceBergen Drug Corp., No. 5:17-cv-00147 (W.D. Ky.)
(transferred Dec. 14, 2017).

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the MDL are purportedly bound to by virtue of the CSA and its regulations. See, e.g., 21 U.S.C.

§ 823(b), (e) (identifying the question whether a distributor has maintained “effective control

against diversion” as one factor the DEA Administrator may consider in evaluating whether the

distributor should be licensed to operate); id. § 832 (imposing requirements to identify and report

suspicious orders); id. § 842(c)(1)(B) (setting penalty for failure to comply with requirements

related to suspicious orders or for failing to “maintain effective controls against diversion of

opioids”); 21 C.F.R. § 1301.74(b) (requiring distributors of controlled substances to “design and

operate a system” that identifies “suspicious orders of controlled substances” and to report such

orders to the DEA).

       21.     Because any duties relating to diversion of controlled substances and reporting and

shipping of “suspicious” opioid medication orders arise, if at all, exclusively from federal law—

the CSA and its implementing regulations—Plaintiff necessarily pleads that alleged violations of

federal law form the basis for its claims.

       22.     Walmart has not responded to the Amended Complaint in state court.

       23.     In accordance with 28 U.S.C. § 1446(a), a copy of the Amended Complaint is

attached as Exhibit A. A copy of the state court docket is attached as Exhibit B. A copy of all

other process, pleadings, and orders served on Walmart is attached as Exhibit C.

                                 TIMELINESS OF REMOVAL

       24.     Walmart was served with the Amended Complaint on or about September 17, 2019.

       25.     In accordance with 28 U.S.C. § 1446(b), this notice of removal is timely filed. See

Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354-56 (1999) (30-day removal

period begins to run upon service of summons and complaint).

       26.     “If defendants are served at different times, and a later-served defendant files a



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notice of removal, any earlier-served defendant may consent to the removal even though that

earlier-served defendant did not previously initiate or consent to removal.” 28 U.S.C. §

1446(b)(2)(C).

                                     PROPRIETY OF VENUE

        27.      Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the Circuit

Court of Warren County, Kentucky, where the state court action was pending prior to removal, is

a state court within this federal district and division.

                                       BASIS OF REMOVAL

        28.      Removal is proper pursuant to 28 U.S.C. §§ 1441 and 1331 because Plaintiffs’

claims present a substantial federal question under the CSA, 21 U.S.C. §§ 801, et seq.

        29.      The original jurisdiction of the district courts includes jurisdiction over “all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

        30.      “Whether a case ‘arises under’ federal law for purposes of § 1331” is governed by

the “well-pleaded complaint rule.” Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc., 535

U.S. 826, 830 (2002) (citation omitted). Even when state law creates the causes of action, a

complaint may raise a substantial question of federal law sufficient to warrant removal if

“vindication of a right under state law necessarily turn[s] on some construction of federal law.”

Merrell Dow Pharm. Inc. v. Thompson, 478 U.S. 804, 808-09 (1986) (quoting Franchise Tax Bd.

v. Constr. Laborers Vacation Tr., 463 U.S. 1, 9 (1983)); see Gully v. First Nat’l Bank, 299 U.S.

109, 112 (1936) (“To bring a case within [§ 1441], a right or immunity created by the Constitution

or laws of the United States must be an element, and an essential one, of the plaintiff’s cause of

action.”); Mikulski v. Centerior Energy Corp., 501 F.3d 555, 565 (6th Cir. 2007) (“Under the

substantial-federal-question doctrine, a state law cause of action may actually arise under federal

law, even though Congress has not created a private right of action, if the vindication of a right


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under state law depends on the validity, construction, or effect of federal law.”). 6

        A.      Plaintiff’s Claims Raise a Federal Issue That Is Necessarily Raised, Actually
                Disputed, Substantial, and Capable of Resolution in Federal Court.

        31.     “[F]ederal jurisdiction over a state law claim will lie if a federal issue is:

(1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

court without disrupting the federal-state balance approved by Congress.” Gunn v. Minton, 568

U.S. 251, 258 (2013); see Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308,

314 (2005). “Where all four of these requirements are met . . . jurisdiction is proper because there

is a ‘serious federal interest in claiming the advantages thought to be inherent in a federal forum,’

which can be vindicated without disrupting Congress’s intended division of labor between state

and federal courts.” Gunn, 568 U.S. at 258 (quoting Grable, 545 U.S. at 313-14).




        6
           Walmart need not overcome any artificial presumptions against removal or in favor of
remand. In Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691 (2003), the Supreme Court
unanimously held that the 1948 amendments to the general federal removal statute, 28 U.S.C. §
1441(a), trumped the Court’s prior holdings in Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.
100 (1941), and its antecedents that federal jurisdictional statutes must be strictly construed
against any recognition of federal subject matter jurisdiction, with every presumption indulged in
favor of remand. Breuer, 538 U.S. at 697-98 (“[W]hatever apparent force this argument [of
strict construction against removal] might have claimed when Shamrock was handed down has
been qualified by later statutory development. . . . Since 1948, therefore, there has been no
question that whenever the subject matter of an action qualifies it for removal, the burden is on a
plaintiff to find an express exception.” (emphasis added)); see also Exxon Mobil Corp. v
Allapattah Servs., Inc., 545 U.S. 546, 558 (2005) (construing 1990 enactment of 28 U.S.C. §
1367, authorizing supplemental federal subject matter jurisdiction, and holding: “We must not
give jurisdictional statutes a more expansive interpretation than their text warrants; but it is just
as important not to adopt an artificial construction that is narrower than what the text provides . .
. Ordinary principles of statutory construction apply.” (citation omitted)).
        More recently, a unanimous Supreme Court in Mims v. Arrow Financial Services, LLC
held: “‘Divestment of district court jurisdiction’ should be found ‘no more readily than
‘divestment of state court jurisdiction,’ given ‘the longstanding and explicit grant of federal
question jurisdiction in 28 U.S.C. § 1331.’” 565 U.S. 368, 379 (2012) (alterations omitted)
(quoting ErieNet, Inc. v. Velocity Net, Inc., 156 F.3d 513, 523 (3d Cir. 1998) (Alito, J.,
dissenting)).

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        32.     Where, as here, a purported state law claim is premised on violations of a duty

contained in a federal statute, a federal court has jurisdiction over that claim. See Bd. of Comm’rs

of Se. La. Flood Protection Auth.-East v. Tenn. Gas Pipeline Co., 850 F.3d 714, 722-23 (5th Cir.),

cert. denied, 138 S. Ct. 420 (2017) (concluding that federal question jurisdiction exists because

claims were premised on failure to satisfy a standard of care established in federal statute)).

Federal jurisdiction is established if there is no “state law grounding for the duty that the [plaintiff]

would need to establish for the Defendants to be liable,” because the absence of any such state

source “means that the duty would have to be drawn from federal law.” Id. at 723. A claim

premised on the breach of such a duty “cannot be resolved without a determination whether . . .

federal statutes create [such] a duty,” and therefore necessarily raises a federal question. Id.; see

also Hughes v. Chevron Phillips Chem. Co., 478 F. App’x 167, 170-71 (5th Cir. 2012) (plaintiff’s

state law claims gave rise to federal question jurisdiction because resolution of claims relied on

duty contained in federal law).

        33.     As set forth below, all four requirements for federal jurisdiction over Plaintiffs’

claims are satisfied.

        34.     Although Plaintiffs ostensibly plead their claims against Walmart and the other

Supply Chain Defendants as state law claims, they base the underlying theory of liability on alleged

violations of federal law or alleged duties arising out of federal law, specifically the CSA.

        35.     Plaintiffs do not identify any Kentucky authority to serve as the basis of their claims

against Walmart and the other Supply Chain Defendants, although they purport to do so. The

authority Plaintiffs cite does not require wholesale pharmaceutical distributors to identify and

report suspicious orders of controlled substances to state government officials or entities, nor does

it require wholesale pharmaceutical distributors to halt, prevent, or avoid filling suspicious orders.



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 Instead, the authority Plaintiffs cite simply establishes certain storage and record-keeping

 requirements, KRS § 218A.200(2), and establishes criminal penalties for violations of Kentucky

 trafficking and criminal conspiracy laws. KRS §§ 218A.1402, 218A.1405. Plaintiffs therefore

 have pleaded federal questions merely dressed up as state law claims.

        36.     Under the artful pleading doctrine, Plaintiffs may not escape federal jurisdiction

 merely by omitting citations to the federal statutes and regulations that serve as the exclusive

 bases for Plaintiffs’ claims. See Mikulski, 501 F.3d at 560 (“[P]laintiffs may not avoid removal

 jurisdiction by artfully casting their essentially federal law claims as state-law claims”) (citations

 and quotation marks omitted). Where it appears that the Plaintiffs may have carefully crafted the

 complaint to circumvent federal jurisdiction, this Court should “consider whether the facts

 alleged in the complaint actually implicate a federal cause of action.” Id. at 561; see also Berera

 v. Mesa Med. Grp., PLLC, 779 F.3d 352, 358 (6th Cir. 2015); Her Majesty the Queen in Right of

 the Province of Ontario v. City of Detroit, 874 F.2d 332, 339 (6th Cir. 1989).


        37.     Specifically, Plaintiffs plead that Walmart and the other Supply Chain Defendants

 violated federal law by failing to:

                a.      “[M]onitor, detect, investigate, report, and refuse to fill suspicious orders of
                        prescription opiates.” Am. Compl. ¶ 63;

                b.      “[M]aintain effective controls, and to investigate, report, and take steps to
                        halt orders that they knew or should have known were suspicious.” Id. ¶
                        574.

                c.      “[C]ontrol the supply chain or to report and take steps to halt suspicious
                        orders. . . and to institute controls to prevent diversion.” Id. ¶¶ 645, 907.

                d.       “[O]perate a system to stop orders which [are] flagged or should have been
                        flagged as suspicious.” Id. ¶ 957.

                e.      “[E]ffectively monitor for suspicious orders . . . report suspicious orders
                        [and] stop or suspend shipments of suspicious orders.” Id. ¶ 975 (c) – (e).

        38.     The CSA and its implementing regulations are the exclusive source of the asserted

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 legal duties to prevent diversion and to monitor, investigate, and report suspicious orders of

 controlled substances. See 21 U.S.C. § 823(b), (e); id. § 832; id. § 842(c)(1)(B); 21 C.F.R.

 §§ 1301.71, .74(b).

        39.     The source of the asserted legal duty to monitor, investigate, and report shipments

 of suspicious orders is 21 U.S.C. § 823(b) and (e), as interpreted by the Drug Enforcement

 Administration (“DEA”) of the United States Department of Justice. Specifically, the DEA

 interprets the public interest factors for registering distributors under the CSA, 21 U.S.C. § 823(b)

 and (e), to impose a responsibility on distributors to exercise due diligence to avoid filling

 suspicious orders that might be diverted to unlawful uses. See Masters Pharm., Inc. v. DEA, 861

 F.3d 206, 212-13 (D.C. Cir. 2017) (citing In re Southwood Pharm., Inc., Revocation of

 Registration, 72 Fed. Reg. 36,487, 36,501 (July 3, 2007), as source of DEA’s “Shipping

 Requirement”).

        40.     Plaintiffs’ theories of liability against Walmart and the other Supply Chain

 Defendants, as pleaded in the Amended Complaint, are thus predicated on allegations that they

 breached alleged duties under the CSA to implement effective controls against diversion and to

 detect and report “suspicious” orders for prescription opioids.

        41.     The federal question presented by Plaintiffs’ claims therefore is “(1) necessarily

 raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without

 disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

        42.     First, Plaintiff’s claims “necessarily raise[]” a federal question because the asserted

 right to relief under state law necessarily requires resolution of a federal question. See Tenn. Gas

 Pipeline, 850 F.3d at 722-23 (federal question necessarily raised where negligence and public

 nuisance claims relied on the court’s interpretation of the scope of a duty of care contained in



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 federal law); Hughes, 478 F. App’x at 170-71; see also North Carolina ex rel. N.C. Dep’t of Admin.

 v. Alcoa Power Generating, Inc., 853 F.3d 140, 146 (4th Cir. 2017) (“Regardless of the allegations

 of a state law claim, ‘where the vindication of a right under state law necessarily turns on some

 construction of federal law,’ the claim arises under federal law and thus supports federal question

 jurisdiction under 28 U.S.C. § 1331.” (alteration omitted)); NASDAQ OMX Grp., Inc. v. UBS

 Securities, LLC, 770 F.3d 1010, 1021-23 (2d Cir. 2014) (a duty derived from the Exchange Act to

 operate a fair and orderly market underpinned plaintiff’s contract and tort claims and therefore

 necessarily raised a federal question); Virgin Islands Hous. Auth. v. Coastal Gen. Constr. Servs.

 Corp., 27 F.3d 911, 916 (3d Cir. 1994) (“[A]n action under 28 U.S.C. § 1331(a) arises only if the

 complaint seeks a remedy expressly granted by federal law or if the action requires construction

 of a federal statute, or at least a distinctive policy of a federal statute requires the application of

 federal legal principles” (emphasis added)).

        43.     Plaintiffs’ claims against Walmart and the other Supply Chain Defendants require

 Plaintiffs to establish that they breached duties established exclusively under federal law by failing

 to monitor, investigate, and report shipments of otherwise lawful orders or by otherwise failing to

 maintain controls against diversion.

        44.     The Amended Complaint cites to various Kentucky laws it claims impose a duty

 on distributors of prescription medications to monitor prescription orders, see Am. Compl. ¶¶ 581-

 82, but none actually does. This is because, as explained above, these duties necessarily arise

 under the federal CSA and regulations.

        45.     While plaintiffs are masters of their complaints, and they “may avoid federal

 jurisdiction by exclusive reliance on state law,” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392

 (1987) (emphasis added), Plaintiffs here necessarily rely on violations of federal law as the basis



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 for their purported state-law claims. 7

        46.     Although Plaintiffs refer to certain Kentucky statutes and claim they give rise to

 the same duties, see Am. Compl. ¶¶ 581-82, Plaintiffs nowhere identify any specific provision of

 state law that creates a duty for wholesale distributors of controlled substances to report or refuse

 to fill suspicious orders for prescription opioids.

        47.     Plaintiffs moreover “may not defeat removal by omitting to plead necessary federal

 questions in a complaint.” Hughes, 478 F. App’x at 171 (quoting Franchise Tax Bd., 463 U.S. at

 22).

        48.     In sum, despite Plaintiffs’ attempts to artfully omit any federal question, the

 Amended Complaint necessarily raises a federal issue—namely, whether Walmart and the other

 Supply Chain Defendants violated the CSA.

        49.     Second, this federal issue is “actually disputed” because the parties disagree as to

 the existence and scope of alleged duties arising under the CSA and whether Walmart and the

 other Supply Chain Defendants violated any duties to monitor, detect, investigate, and report

 suspicious orders under the CSA. Indeed, this federal issue is the “central point of dispute.” Gunn,

 568 U.S. at 259.




        7
           Furthermore, it is not necessary for federal jurisdiction that Walmart establish that all of
 Plaintiffs’ counts against it raise a federal question. Even if Plaintiffs could prove one or more of
 those counts without establishing a violation of federal law, this Court still has federal question
 jurisdiction: “Nothing in the jurisdictional statutes suggests that the presence of related state law
 claims somehow alters the fact that [the] complaints, by virtue of their federal claims, were ‘civil
 actions’ within the federal courts’ ‘original jurisdiction.’” City of Chicago v. Int’l Coll. of
 Surgeons, 522 U.S. 156, 166 (1997).
         Because the Court has original jurisdiction over at least some counts against Walmart and
 the other Supply Chain Defendants, it has supplemental jurisdiction over Plaintiffs’ remaining
 counts which are so related that they “form part of the same case or controversy.” 28 U.S.C.
 § 1367(a); see Baker v. Farmers Elec. Co-op., Inc., 34 F.3d 274, 283 (5th Cir. 1994).

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        50.     Third, the federal issue presented by Plaintiffs’ claim is “substantial.” 8 Id. at 258.

 “The substantiality inquiry under Grable looks . . . to the importance of the issue to the federal

 system as a whole.” Id. at 260. Among other things, the Court must assess whether the federal

 government has a “strong interest” in the federal issue at stake and whether allowing state courts

 to resolve the issue will “undermine ‘the development of a uniform body of [federal] law.’” Id. at

 260-61 (quoting Grable, 545 U.S. at 315; Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S.

 141, 162 (1989)). As the Supreme Court explained in Grable, “[t]he doctrine captures the

 commonsense notion that a federal court ought to be able to hear claims recognized under state

 law that nonetheless turn on substantial questions of federal law, and thus justify resort to the

 experience, solicitude, and hope of uniformity that a federal forum offers on federal issues.” 545

 U.S. at 312; see also Willis of Tex., Inc. v. Stevenson, No. H-09-cv-0404, 2009 WL 7809247, at *5

 (S.D. Tex. May 26, 2009) (“The Fifth Circuit has held that a claim is substantial enough to support

 federal question jurisdiction if the issue raised is not wholly insubstantial, obviously frivolous,

 plainly insubstantial, or obviously without merit.”).

        51.     Plaintiffs’ theories of liability necessarily require that a court determine a question

 relating to the important federal issue of regulation of controlled substances. Indeed, Congress

 recognized the importance of a nationwide approach to controlled substances in enacting the CSA.

 H.R. Rep. No. 91-1444 (1970), as reprinted in 1970 U.S.C.C.A.N. 4566, 4571-72 (noting one

 purpose of the CSA was “provid[e] the . . . drug industry with a unified approach to narcotic and

 dangerous drug control.”



        8
           The substantiality inquiry as it pertains to federal question jurisdiction is distinct from
 the underlying merits of Plaintiffs’ claims and has no bearing on the strength of those claims.
 See Gunn, 568 U.S. at 260 (“The substantiality inquiry under Grable looks . . . to the importance
 of the issue to the federal system as a whole.”).

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        52.     The text of the CSA itself notes the federal interest in regulating controlled

 substances in a uniform manner. 21 U.S.C. § 801 (2), (6) (recognizing the illegal uses of controlled

 substances “have a substantial and detrimental effect on the health and general welfare of the

 American people” and that “[f]ederal control of the intrastate incidents of the traffic in controlled

 substances is essential to the effective control of the interstate incidents of such traffic”). Thus,

 “[g]iven that . . . the plaintiffs’ claims turn on the interpretation of the federal regulations

 governing” the distribution of controlled substances “and the importance of those regulations to

 the Congressional scheme, this case plainly falls within the narrow swath of cases described in

 Grable.” Anversa v. Partners Healthcare Sys., Inc., 835 F.3d 167, 174 n.5 (1st Cir. 2016).

        53.     Plaintiffs’ attempt to enforce the CSA raises a substantial federal question even

 though the CSA does not provide for a private right of action. In Grable, the Supreme Court held

 that lack of a federal cause of action does not foreclose federal-question jurisdiction. The Court

 stated that applying Merrell Dow too narrowly would both “overturn[] decades of precedent,” and

 “convert[] a federal cause of action from a sufficient condition for federal-question jurisdiction

 into a necessary one.” Grable, 545 U.S. at 317; see also, e.g., Ranck v. Mt. Hood Cable Reg.

 Comm’n, No. 3:16-cv-02409-AA, 2017 WL 1752954, at *4-5 (D. Or. May 2, 2017) (state law

 claims based on violations of Cable Communications Policy Act raise substantial federal questions

 and satisfy Grable even though no private right of action exists under Act).

        54.     Removal is especially appropriate here because Plaintiffs’ action is one of

 thousands of similar actions nationwide, most of which are pending in the Opiate MDL in the

 Northern District of Ohio. Indeed, Plaintiffs claim that the “opioid epidemic” is “one of the

 nation’s most pressing health management issues, not only because of its toll on patients, but

 increasingly because of the financial impact” on the entire healthcare system. Am. Compl. ¶¶ 2,



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 25. The Opiate MDL bellwether proceedings have substantially advanced and are set for trial in

 October 2019.

         55.     Fourth, and finally, the federal issue also is capable of resolution in federal court

 “without disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

 Federal courts exclusively hear challenges to DEA authority to enforce the CSA against

 distributors, and litigating this case in a state court runs the risk of the state court applying federal

 requirements in a manner in tension or in conflict with the way the federal agency tasked with

 enforcing the CSA—the DEA—applies them. Federal jurisdiction is therefore properly exercised

 under Section 1331 to resolve “disputed issues of federal law” under the CSA.

         56.     In sum, removal of this action is appropriate because Plaintiffs’ “state-law claim

 necessarily raise[s] a stated federal issue, actually disputed and substantial, which a federal forum

 may entertain without disturbing any congressionally approved balance of federal and state judicial

 responsibilities.” Grable, 545 U.S. at 314; see also See Bd. of Commissioners, 850 F.3d at 722-

 23; Hughes, 478 F. App’x at 170-71; Gilmore v. Weatherford, 694 F.3d 1160, 1176 (10th Cir.

 2012) (“Although plaintiffs could lose their conversion claim without the court reaching the federal

 question, it seems that they cannot win unless the court answers that question. Thus, plaintiffs’

 ‘right to relief necessarily depends on resolution of a substantial question of federal law.’” (quoting

 Nicodemus v. Union Pac. Corp., 440 F.3d 1227, 1232 (10th Cir. 2006))).

         B.      The Court Can Exercise Supplemental Jurisdiction.

         57.     To the extent that the Court determines that some, but not all, of Plaintiffs’ claims

 state a substantial federal question, the Court can evaluate whether to retain the non-federal claims

 under the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367(a), which grants district court

 jurisdiction over state claims forming part of the same case or controversy. See Baker v. Farmers

 Elec. Co-op., Inc., 34 F.3d 274, 283 (5th Cir. 1994).

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        58.     It is not necessary for federal jurisdiction to establish that all of Plaintiffs’ counts

 raise a federal question. Even if Plaintiffs could prove one or more of those counts without

 establishing a violation of federal law, this Court still has federal question jurisdiction: “Nothing

 in the jurisdictional statutes suggests that the presence of related state law claims somehow alters

 the fact that [the] complaints, by virtue of their federal claims, were ‘civil actions’ within the

 federal courts’ ‘original jurisdiction.’” City of Chicago v. Int’l College of Surgeons, 522 U.S. 156,

 166 (1997). Instead, “federal courts’ original jurisdiction over federal questions carries with it

 jurisdiction over state law claims that derive from a common nucleus of operative fact.” Id. at

 164-65 (internal quotation omitted); see also Knatt v. Hosp. Serv. Dist. No. 1 of E. Baton Rough

 Par., 373 F. App’x 438, 441 (5th Cir. 2010) (exercising jurisdiction to review state law claims

 even though federal law claims were not on appeal because the district court had properly exercised

 supplemental jurisdiction over the state law claims).

        59.     Because, as explained above, the Court has original jurisdiction over at least some

 counts against Walmart and the other Supply Chain Defendants, it has supplemental jurisdiction

 over Plaintiffs’ remaining counts against Walmart and the other Supply Chain Defendants,

 including the putative state law pharmacy claims against the National Retail Pharmacy Defendants,

 which are so related that they “form part of the same case or controversy.”

        60.     The presence of state law claims, if any, therefore does not defeat this Court’s

 original jurisdiction over the federal claims.

                                       OTHER REMOVAL ITEMS

        61.     Under 28 U.S.C. § 1446(b)(2)(A), all Defendants that have been properly joined

 and served must join or consent to removal.

        62.     The following Defendants have been served in this action and consent to removal,



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 as indicated by counsel’s signatures below: Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue

 Frederick Company, Inc.; 9 Mark Timney; Russell Gasdia; Tessa F. Rios; Amy K. Thompson; Teva

 Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.;

 Ortho-McNeil-Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen

 Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; H.D. Smith, LLC f/k/a H.D. Smith

 Wholesale Drug Co.; Abbott Laboratories; Abbott Laboratories, Inc.; Endo Pharmaceuticals, Inc.;

 Mallinckrodt, LLC; SpecGX LLC; Assertio Therapeutics, Inc. f/k/a Depomed, Inc.;

 AmerisourceBergen Drug Corporation; Cardinal Health, Inc.; Henry Schein, Inc.; Miami-Luken,

 Inc.; Richie Pharmacal Co.; CVS Health Corporation; CVS Pharmacy, Inc.; CVS Indiana, L.L.C.;

 Rite Aid of Maryland, Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center, Inc.; Walgreens

 Boots Alliance, Inc.; Walgreen Co.; and Walgreen Eastern Co., Inc. (“Walgreens”).

        63.    The remaining Defendants have not been properly served, and thus their consent to

 removal is not required. Nevertheless, out of an abundance of caution, John Stewart; Teva




        9
           On September 15, 2019, Purdue and its affiliated debtors filed voluntary bankruptcy
 petitions for relief under Chapter 11 of the U.S. Bankruptcy Code in the U.S. Bankruptcy Court
 for the Southern District of New York. The case is docketed as In re Purdue Pharma L.P., No.
 19-23649, and is pending before U.S. Bankruptcy Judge Robert D. Drain. Pursuant to 11 U.S.C.
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 (the “Purdue Debtors”). Moreover, on October 11, 2019, Judge Drain issued an Order pursuant
 to 11 U.S.C. § 105(a), enjoining the commencement or continuation of litigation against the
 Purdue Debtors and certain related parties (including The Purdue Frederick Company Inc.;
 Richard Sackler; Beverly Sackler; David Sackler; Ilene Sackler Lefcourt; Jonathan Sackler;
 Kathe Sackler; Mortimer D.A. Sackler; Theresa Sackler; John Stewart; Mark Timney; Russell
 Gasdia; Tessa F. Rios; and Amy K. Thompson) through November 6, 2019. To the extent
 consent is required, Purdue; John Stewart; Mark Timney; Russell Gasdia; Tessa F. Rios; and
 Amy K. Thompson consent to removal. By consenting to removal, none of the defendants waive
 any right or defense and expressly reserve them, including in connection with the Bankruptcy
 Court’s stay as well as all rights and defenses in this action, including lack of personal
 jurisdiction.

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 Pharmaceutical Industries Ltd.; 10 Watson Laboratories, Inc.; Actavis Pharma, Inc. f/k/a Watson

 Pharma Inc.; Actavis LLC; Noramco, Inc.; Endo Health Solutions, Inc.; Allergan plc f/k/a Actavis

 plc; 11 Watson Pharmaceuticals, Inc.; and Anda, Inc. consent to removal. The Defendants listed in

 this paragraph expressly reserve, and do not waive, all defenses related to service of process and

 personal jurisdiction.

        64.     By filing this Notice of Removal, Walmart and the consenting Defendants

 expressly reserve, and do not waive, any and all defenses that may be available to them, including

 those related to personal jurisdiction and service of process. If any question arises as to propriety

 of removal to this Court, Walmart requests the opportunity to present a brief and oral argument in

 support of its position that this case has been properly removed.

        65.     Pursuant to 28 U.S.C. § 1446(d), Walmart will promptly file a copy of this Notice

 of Removal with the clerk of the state court where the lawsuit has been pending and serve notice

 of the filing of this Notice of Removal on Plaintiff.

        66.     Walmart reserves the right to amend or supplement this Notice.

        WHEREFORE, Walmart removes this action, now pending in the Circuit Court of Warren

 County, Civil Division 1, Kentucky, case number 19-CI-01146, to this Court.

  DATED: October 17, 2019
                                                         Respectfully submitted,

                                                         By: /s/ Andrew L. Sparks
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                                                         DICKINSON WRIGHT PLLC

        10
           Teva Pharmaceutical Industries Ltd. (“Teva Ltd”) is a foreign company and it is not
 subject to personal jurisdiction in the United States. Teva Ltd. expressly reserves all defenses,
 including those related to personal jurisdiction and service of process.
        11
          Allergan plc f/k/a Actavis plc, an Irish corporation, disputes that it has been served but
 nevertheless consents to removal out of an abundance of caution and expressly reserves all rights
 and defenses including those related to personal jurisdiction and service of process.

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                                            Consent to Removal:

                                            /s/ Frank K. Tremper_______
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                                            Inc.




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                                CERTIFICATE OF SERVICE

        I, Andrew L. Sparks, hereby certify that the foregoing document will be served via the

 Court’s ECF system to ECF registrants and/or U.S. Mail on October 17, 2019.


                                                    /s/ Andrew L. Sparks
